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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
                vs.                              )                 8:06CR19
                                                 )
JUAN VARGAS,                                     )                   ORDER
                                                 )
                       Defendant.                )



       It has come to the attention of the court that the digital recording equipment was
malfunctioning on August 8, 2006 and the Change of Plea hearing did not record. For that
reason, the hearing must be repeated.

        IT IS ORDERED that the Change of Plea hearing shall be re-held on August 22, 2006
at 9:00 a.m. before Magistrate Judge F.A. Gossett.

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 15th day of August, 2006.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
